Case 2:14-cv-11916-GCS-SDD ECF No. 47-1, PageID.1303 Filed 06/08/15 Page 1 of 1



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 NATALIE REESER,
                                                Case No. 2:14-cv-11916-GCS-MJH
              Plaintiff,                        Hon. George Caram Steeh
 v

 HENRY FORD HOSPITAL,

              Defendant.

  MILLER COHEN, P.L.C.                          VARNUM LLP
  Keith D. Flynn (P74192)                       Terrance J. Miglio (P30541)
  Adam C. Graham (P79361)                       Barbara E. Buchanan (P55084)
  Attorneys for Plaintiff                       Attorneys for Defendant
  600 W. Lafayette Blvd., 4th Floor             39500 High Pointe Blvd., Ste. 350
  Detroit, MI 48226-0840                        Novi, MI 48375
  (313) 964-4454 Phone                          (248) 567-7828 Phone
  (313) 964-4490 Fax                            (248) 567-7423 Fax

          PLAINTIFF’S MOTION TO AMEND HER COMPLAINT
                       INDEX OF EXHIBITS

 EXHIBIT A:          Proposed Amended Complaint and Demand for Jury Trial

 EXHIBIT B:          Michigan Department of Licensing and Regulatory Affairs
                     Filing Endorsement

 EXHIBIT C:          Henry Ford Hospital Minimally Invasive Brain Surgery

 EXHIBIT D:          Henry Ford Hospital Natalie Reeser Missed Pay Period
                     Chronology Claim #177607 March 20, 2014

 EXHIBIT E:          Proof of Service: Summons and Complaint and Demand for
                     Jury Trial and Return of Service (May 16, 2014)

 EXHIBIT F:          Triangle Distribution, Inc., vs. Shafer, Inc.

 EXHIBIT G:          Juli Garretson, vs. City of Madison Heights
